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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

  MAURICE JOHN,
                                              Case No. 4:20-cv-00071-BLW
        Plaintiff,
                                              ORDER RE: STIPULATION OF
         v.                                   DISMISSAL

  CORE BRACE, LLC, et al.,

        Defendants.



      Pursuant to the Stipulation of Dismissal of this action pursuant to F.R.C.P.

41(a)(1)(A), signed by all parties who have appeared in this action (Dkt. 40), the

above-captioned action is automatically terminated in its entirety with prejudice.

See Fed. R. Civ. P. 41(a)(1)(A); Wilson v. City of San Jose, 111 F.3d 688, 692 (9th

Cir. 1997) (dismissal under Rule 41(a)(1)(A) is automatic, without court order).



                                             DATED: January 27, 2022


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




ORDER RE: STIPULATION OF DISMISSAL - 1
